Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 1 of 10




 EXHIBIT 43
                   Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 2 of 10

Hunters Capital, LLC v. City of Seattle                                                                30(b)(6) Thomas Mahaffey
                                                          Page 1                                                                      Page 3
            UNITED STATES DISTRICT COURT                            1           DEPOSITION OF THOMAS MAHAFFEY
            WESTERN DISTRICT OF WASHINGTON                          2               EXAMINATION INDEX
                 AT SEATTLE                                         3   EXAMINATION BY:                       PAGE
      ______________________________________________________        4   30(b)(6) Examination by Mr. Weaver         6
                                                                    5   Non-30(b)(6) Examination by Mr. Weaver       73
      HUNTERS CAPITAL, LLC, et al., )                               6
                         )                                          7                 EXHIBIT INDEX
              Plaintiff,    )                                       8   EXHIBITS FOR IDENTIFICATION                   PAGE
                         )                                          9   Exhibit 1 Amended Notice of Videotaped        8
            vs.            ) No. 20-cv-00983-TSZ                               Deposition Pursuant to FRCP
                         )                                         10          30(b)(6) to City of Seattle
      CITY OF SEATTLE,              )                              11   Exhibit 2 Email with attachment;       10
                         )                                                     SEA-SPD_005983-984
              Defendant.       )                                   12
      ______________________________________________________            Exhibit 3 June 29 Events Incident Action 25
                                                                   13          Plan; SEA_00007766-787
        VIDEOTAPED VIDEOCONFERENCE 30(b)(6) DEPOSITION             14   Exhibit 4 June 24 Events Incident Action 32
                                                                               Plan; SEA-SPD_007528-550 (CONFIDENTIAL)
               UPON ORAL EXAMINATION OF                            15
                                                                        Exhibit 5 Email chain; SEA_00020853-858           33
                 CITY OF SEATTLE                                   16
                                                                        Exhibit 6 Email; SEA_00022828-830             41
               (THOMAS MAHAFFEY)                                   17
      ______________________________________________________            Exhibit 7 Seattle PD SuperForm; SEA_00156958-           45
                                                                   18          960
                                                                   19   Exhibit 8 Email; SEA_00000868-869           49
                Seattle, Washington                                20   Exhibit 9 Printout of details related to 49
                                                                               Exhibit 8
                                                                   21
       (All participants appeared via videoconference.)                 Exhibit 10 Excel spreadsheet            51
                                                                   22
                                                                        Exhibit 11 Email chain; SEA_00023588-589           58
                                                                   23
                                                                        Exhibit 12 Executive Order 2020-08;          63
      DATE TAKEN: JANUARY 26, 2022                                 24          SEA_00045264-268
      REPORTED BY: CINDY M. KOCH, RPR, CRR, CCR #2357              25


                                                          Page 2                                                                      Page 4
  1            APPEARANCES                                          1                 EXHIBIT INDEX (Continuing)
  2   FOR PLAINTIFF:
  3          TYLER S. WEAVER
                                                                    2     EXHIBITS FOR IDENTIFICATION                                   PAGE
             Calfo Eakes LLP                                        3     Exhibit 13 Email; SEA_00036004-005                           119
  4          1301 Second Avenue                                     4     Exhibit 14 Email, July 4 Events Incident                   156
             Suite 2800
  5          Seattle, WA 98101-3808                                              Action Plan; SEA_00007505-545
             206.407.2237                                           5
  6          tylerw@calfoeakes.com                                        Exhibit 15 Email chain; SEA-SPD_006803-804                     167
  7
      FOR DEFENDANT:
                                                                    6
  8                                                                       Exhibit 16 Email chain; SEA_00028176-177                      170
              SHANE P. CRAMER                                       7
  9           ARTHUR W. HARRIGAN, JR.
              Harrigan Leyh Farmer & Thomsen LLP                          Exhibit 17 Email containing Executive Order                 184
 10           999 Third Avenue                                      8            2020-08; SEA_00019316-319
              Suite 4400                                            9     Exhibit 18 Email chain; SEA_00021402-404                      185
 11           Seattle, WA 98104
              206.623.1700
                                                                   10
 12           shanec@harriganleyh.com                              11
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 13
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 15           Suite 2050
              Seattle, WA 98104-7095
                                                                   16
 16           206.684.8200                                         17
              joseph.groshong@seattle.gov                          18
 17
 18   ALSO PRESENT: LINDSAY HITCHCOCK, videographer
                                                                   19
             Buell Realtime Reporting, LLC                         20
 19                                                                21
 20              * * * * *
 21                                                                22
 22                                                                23
 23                                                                24
 24
 25                                                                25


                                                                                                              1 (Pages 1 to 4)
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               Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 3 of 10

Hunters Capital, LLC v. City of Seattle                                                     30(b)(6) Thomas Mahaffey
                                                   Page 33                                                          Page 35
  1    specified -- specific? I don't who it was sent to          1   were IAPs being sent out with the wording of "mass
  2    directly.                                                  2   casualty event."
  3             MR. WEAVER: Okay. I'm going to drop               3         Does that help you remember at all when it
  4    another document in the chat. We're getting -- we're       4   was -- when the wording was changed to "critical life
  5    getting fast and furious on the -- on the documents        5   safety emergency"?
  6    already, so...                                             6            MR. CRAMER: Objection. Form.
  7             (Exhibit No. 5 marked.)                           7       A. It doesn't. I will say one thing, with IAPs,
  8             THE WITNESS: Okay.                                8   especially during this time, we were having -- the
  9    BY MR. WEAVER:                                             9   operations center was having to produce so many,
 10       Q. All right. So is this an email you sent on          10   sometimes getting the language caught up or getting
 11    June 16th?                                                11   things changed, because of everything else that was
 12        A. Just blow it up here a little bit.                 12   going on from the planning perspective, sometimes they
 13           Yes.                                               13   weren't as timely as they could have been, with getting
 14       Q. Okay. So in the first sentence, you say, "For       14   changes put into them.
 15    clarification, this is what I approved and was sent out   15   BY MR. WEAVER:
 16    department-wide last Friday," and then it appears to      16       Q. Was it your understanding that there was any
 17    have the text of the email from Exhibit 2 down below,     17   difference in the -- in the substance of the directive
 18    towards the bottom of the first page. Is -- am I          18   between the directive that used the term "mass casualty
 19    understanding that correctly?                             19   event" and the directive that used the term "critical
 20        A. That appears correct, yes.                         20   life safety emergency"?
 21       Q. Okay. So does that refresh you as to whether        21       A. Sorry; I'm not quite following your question
 22    the Exhibit 2 was sent out to the entire department?      22   there.
 23        A. That's what I said in the email. But like I        23       Q. Okay. Was the change from "mass casualty
 24    said, I don't -- specifically I don't recall who it was   24   event" to life -- "critical life safety emergency" meant
 25    sent out to, but that's what I'm saying in this email,    25   to convey a change in department policy or directive?


                                                   Page 34                                                          Page 36
  1    yes.                                                       1       A. No. Again, I think it was just meant to
  2       Q. Okay. So I'd like to go back to Exhibit 4,           2   clarify the wording, and really the -- the premises that
  3    which is the June 24th IAP. And if you could scroll        3   we were operating under, I think it just -- and the
  4    down to -- I think it may be 15 of this one as well.       4   things that we were briefed kind of every day, I think
  5    So -- yes, it's 15. I'm sorry. It's 16. Bates              5   it was just providing more clarity.
  6    No. 7543.                                                  6       Q. And I'd like you to go to the bottom of the
  7          This appears to have similar language to what        7   last page on Exhibit 4. This again is a map showing
  8    we've been talking about, but it uses the term "mass       8   the -- what's -- what were the boundaries of the red
  9    casualty event" rather than "critical life safety          9   zone; is that right?
 10    emergency."                                               10       A. Correct.
 11          Do you see that?                                    11       Q. And were those the same that they had been in
 12       A. Yes.                                                12   the directive that went out department-wide on June 12th
 13       Q. So this was June 24th of 2020. Does this            13   in Exhibit 2?
 14    refresh you at all as to when there might have been a     14            MR. CRAMER: Objection. Asked and answered.
 15    change to the wording of "critical life safety            15       A. Yes. They -- they look the same. I don't see
 16    emergency"?                                               16   any significant changes in either map.
 17            MR. CRAMER: Objection. Form.                      17   BY MR. WEAVER:
 18       A. Sorry. You said Exhibit 4 says mass casualty        18       Q. Let me ask you, with regard to -- and we can
 19    event, or am I on the wrong exhibit or --                 19   go -- we can go to any -- I guess go back up to 16 on
 20    BY MR. WEAVER:                                            20   Exhibit 4, Page 16.
 21       Q. I believe it does, on Page 16, if you -- you        21       A. Okay.
 22    can look at it, yourself.                                 22       Q. Okay. So with regard to Edward Sector, it
 23       A. I'm looking at Exhibit 4, and it's -- says          23   indicates that a required -- requires a four officer
 24    "mass casualty event" on Page 16.                         24   minimum response to all Edward Sector calls for service
 25       Q. Okay. So it appears that on June 24th there         25   outside the red zone.


                                                                                              9 (Pages 33 to 36)
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                Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 4 of 10

Hunters Capital, LLC v. City of Seattle                                                      30(b)(6) Thomas Mahaffey
                                                    Page 37                                                         Page 39
  1          What does -- what did that mean?                      1   trying to keep the public safe by not responding to
  2        A. For any response for police service, that we         2   calls, how was not responding to calls keeping the
  3    were going to send, again, as it indicates, a minimum of    3   public safe?
  4    four officers to that call.                                 4             MR. CRAMER: Objection. Form.
  5       Q. So prior to June 2020, what was the minimum           5       A. That's not what I mean by that. It's, again,
  6    response for a call in the Edward Sector?                   6   to -- we're responding to calls. It's just that we're
  7        A. It would depend on the type of call, again,          7   doing it in a way that allows us to provide service in
  8    with -- what the actual details of the incident were.       8   the best way that we can.
  9    But it could be as little as one officer for a              9           We're just considering the -- again, the
 10    nonpriority event with no suspect on the scene, to many    10   unprecedented circumstances that we were facing at the
 11    multiple of officers for some type of ongoing life         11   time, and the scrutiny, and threat to officer safety
 12    safety emergency.                                          12   that we were having to deal with.
 13       Q. So what -- what was the least number of              13           That's what the -- really considerations that I
 14    officers for a particular call that would be a minimum     14   had to -- to deal with at the time and how we were going
 15    required to respond to a call prior to June 2020?          15   to still provide police services while dealing with all
 16        A. The fewest would be one for a low priority          16   these other issues that were swirling around us.
 17    response.                                                  17   BY MR. WEAVER:
 18       Q. Okay. And during the -- during the pendency of       18       Q. So going back to Exhibit 5, in the second
 19    these directives in June of 2020, even those low           19   paragraph of this email you sent on June 16th, you're
 20    priority calls would still require a four officer          20   asking whether the -- first of all, you sent this to
 21    response? Is that correct?                                 21   Carmen Best, and then who's Christopher Fisher?
 22        A. That is correct, yes.                               22       A. He was the chief's -- I believe his title was
 23       Q. And why was that?                                    23   strategic advisor.
 24        A. Due to just the conditions that we hadn't faced     24       Q. And you say, "Please let me know if this should
 25    before, based on -- I will describe it as the negative     25   be altered or clarified in anyway if it is creating a


                                                    Page 38                                                         Page 40
  1    feelings and animosity towards Seattle police officers      1   messaging issue or confusion internally or externally."
  2    at that time that was particularly concentrated in that     2          Do you see that?
  3    area of the city.                                           3       A. Yes.
  4           Officers were going to seemingly routine calls       4       Q. Do you remember asking for that, for any
  5    and being accosted by people seeking confrontation even     5   clarification they wanted?
  6    in routine situations. So again, in just working            6       A. Reading this email, that -- now it's bringing
  7    through some of these unprecedented circumstances that      7   up I did ask that, yes.
  8    were dealt with, again, officer safety being the most --    8       Q. Do you recall whether either Chief Best or
  9    the thing that was most foremost on my mind during this     9   Officer Fisher indicated that your policy should be
 10    period, we determined that this was the best course of     10   altered or clarified in any way?
 11    action to take.                                            11       A. I don't specifically, no.
 12        Q. Okay. So within the Edward Sector, but outside      12       Q. And you also indicate down below that,
 13    the red zone, were there cases in which there might be a   13   "Depending" -- you were going to talk with
 14    mass casualty event or a critical life safety emergency,   14   representatives from the City's department involved in
 15    that it would be appropriate under your directive for      15   barricade removal, and that, "Depending on how that
 16    officers not to respond?                                   16   operation went, I may be able to adjust the current
 17             MR. CRAMER: Objection. Form. Calls for            17   response protocol to the area."
 18    speculation.                                               18          Do you recall whether the -- you adjusted the
 19        A. No. But again, depending on the criticality of      19   current response protocol to the area after barricade
 20    the incident, I want them to formulate a thoughtful and    20   removal?
 21    considered response before going in, again, to ensure      21       A. It wasn't adjusted because the barricades -- if
 22    their safety, de-escalate, minimize the potential use of   22   this is still June 12th, my recollection, the
 23    force, and keep the public safe.                           23   barricades -- or June 16th, excuse me, the barricades
 24    BY MR. WEAVER:                                             24   were not removed. So protocols were not adjusted.
 25        Q. So when you indicate that it was -- you were        25       Q. So the protocols were not adjusted until all


                                                                                             10 (Pages 37 to 40)
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                Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 5 of 10

Hunters Capital, LLC v. City of Seattle                                                      30(b)(6) Thomas Mahaffey
                                                     Page 73                                                         Page 75
  1    you, just Chief Mahaffey.                                   1   officers directly to manage and address the crowd.
  2    BY MR. WEAVER:                                              2         So that was the course of action that I felt
  3         Q. So I think we talked just briefly about the         3   was the best to prevent confrontation, to de-escalate,
  4    evacuation of materials and personnel from the East         4   prevent injury, and keep police officers and the public
  5    Precinct on the night of June 8th or the afternoon of       5   safe.
  6    June 8, 2020.                                               6       Q. You said there was force used against officers
  7            Was that your decision, to evacuate personnel       7   by people who were protesting or who were mixed in among
  8    from the East Precinct?                                     8   the protesters.
  9         A. Ultimately, that was my decision, yes. I made       9         What sort of force was being used?
 10    it in -- I had consultation with my commanders I had       10       A. So there was physical body force consisting of
 11    working that day, but yes, ultimately, that decision       11   pushing, shoving, punching. We also had objects thrown
 12    was -- was mine.                                           12   at us: rocks, pieces of cement, bottles, garbage.
 13         Q. Did you make any consultation with Chief Best?     13   Commercial grade fireworks were used on officers as
 14         A. I did call her and let her know how we'd be        14   well.
 15    proceeding that evening, yes.                              15         And then we had reports of people in the crowd
 16         Q. And you told Chief Best before you had --          16   with Molotov cocktails, which is a bottle filled with
 17    before the evacuation; is that correct?                    17   gasoline with usually a rag soaked in some type of
 18         A. Yes. I -- yes. Before we implemented the           18   accelerant on top as well.
 19    actual plan, yes, I let her know.                          19         So those were some of the issues that we
 20         Q. Okay. And what was the basis for your decision     20   were -- we were dealing with. We'd also get reports of
 21    to evacuate personnel from the East Precinct?              21   armed people in the crowd from time to time, but we did
 22         A. Well, there's a lot that went into that            22   not have firearms directly used against police officers,
 23    decision. It was not easily made. The overarching          23   thankfully.
 24    concern was, the need to de-escalate would have been       24       Q. And so your expectation on June 8th, that that
 25    going on the previous week, which was a constant focus     25   was probably going to keep happening regularly on the


                                                     Page 74                                                         Page 76
  1    on the precinct by the protesters, to the point that the    1   night of June 8th and later; is that correct?
  2    precinct had become inoperable.                             2             MR. CRAMER: Form.
  3            We had nearly nightly clashes with protesters       3           Go ahead.
  4    involving significant amounts of -- we had to use force     4       A. Continuing with our same deployment model, yes,
  5    to deal with the crowd. We had force used against us by     5   I felt that was the likely -- likely outcome.
  6    the crowd.                                                  6   BY MR. WEAVER:
  7            We had officers injured. We had members of the      7       Q. So to what extent was the mayor's office or the
  8    protest crowd injured, and it was seemingly not going to    8   mayor herself involved in discussions about what to take
  9    end. So that was the overall goal, was to prevent any       9   out of the precinct and when to take it out of the
 10    further clashes with the crowd and injuries to officers.   10   precinct?
 11            There was also concerns about the building         11             MR. CRAMER: Objection. Form.
 12    being attacked and destroyed. We had information from      12       A. My recollection, I think sometime --
 13    the FBI. I knew that a precinct had been burned in         13             THE WITNESS: That wasn't me, I hope, on
 14    Minneapolis, Minnesota, as a result of protests they had   14   the -- on the --
 15    there. I had information other government buildings        15             MR. CRAMER: I think someone -- I think
 16    were being attacked.                                       16   someone joined.
 17            So I had a great concern that based on what had    17           Go ahead.
 18    been occurring the previous weeks, that the East           18           I'm sorry. Tyler, do you want to re-ask it
 19    Precinct would be another target, which, based on where    19   just so we're -- or have the court reporter read it
 20    it sits on the block, there's really only two ways in      20   back.
 21    and out of it.                                             21             MR. WEAVER: I can ask it again.
 22            And overall, the -- that was my greatest           22   BY MR. WEAVER:
 23    concern, was keeping -- keeping people safe, and not       23       Q. So to what extent was the mayor herself or the
 24    being able to keep people in there, as we were not going   24   mayor's office involved in discussions about moving
 25    to be able to use the tactics, which was using police      25   materials or people out of the East Precinct on


                                                                                             19 (Pages 73 to 76)
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                Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 6 of 10

Hunters Capital, LLC v. City of Seattle                                                      30(b)(6) Thomas Mahaffey
                                                    Page 77                                                          Page 79
  1    June 8th?                                                   1   director level. I don't remember specifically, but that
  2             MR. CRAMER: Same objection.                        2   would have been SDOT, I believe Fire Chief Scoggins was
  3        A. I don't know about the mayor's direct                3   there, potentially somebody from Public Utilities,
  4    involvement. There was some discussion with some of         4   but -- so it was police, mayor's office, and some other
  5    other staff about having a plan in place, about if we --    5   department heads.
  6    about moving, what articles would have to be moved out      6       Q. Okay. What were the nature of those
  7    of the precinct potentially. I think that occurred on       7   discussions? What was the topic of the discussions that
  8    June 7th or 8th.                                            8   was going on there?
  9    BY MR. WEAVER:                                              9       A. So on the night of the 7th, we had had another
 10        Q. So what were the discussions with the mayor's       10   significant incident involving the -- well, two, really.
 11    staff about what should be moved out?                      11   The -- the evening had started out where a person had
 12        A. I'm sorry; you cut out in the last part of          12   driven a car down 10th Avenue from Pike Street, came out
 13    that.                                                      13   of the car -- shot somebody, came out of the car, went
 14        Q. What were the discussions with the mayor's          14   through the crowd. Police took them into custody. So
 15    staff about what should be moved out of the precinct, I    15   that started the evening.
 16    think you said on either June 7th or June 8th?             16          And then towards the end of the evening, we had
 17        A. I don't know if I'd characterize it as a            17   a significant removal of barricades that we had -- 11th
 18    discussion. I think it was -- my recollection, it more     18   and Pine Street was kind of where we had the most
 19    was asking for a plan about what items would have to be    19   significant involvement nightly.
 20    taken out.                                                 20          We had -- I had ordered some better metal
 21        Q. Okay. What do you recall about those                21   fencing, what we thought would be better metal fencing,
 22    discussions?                                               22   but really, almost as soon as it was installed,
 23             MR. CRAMER: Objection. Form. Misstates            23   protesters were looking for ways to take it down.
 24    testimony.                                                 24          They had taken it down. There was an
 25        A. Just we were asked for some plans. I think it       25   encroachment on the precinct. All our attempts to


                                                    Page 78                                                          Page 80
  1    was over email. I don't remember about that particular      1   de-escalate verbally had failed. We had reports of
  2    topic specific face-to-face discussions that I was          2   people with firearms in the crowd.
  3    involved in.                                                3         We ended up using some less lethal munitions to
  4    BY MR. WEAVER:                                              4   disperse the crowd, making numerous arrests, having
  5       Q. Okay. Were you in -- were you involved in             5   officers and members of the public injured. That's the
  6    face -- face-to-face discussions on June 8th with           6   night of -- into the early morning of June 7th and the
  7    anybody from the mayor's office about the East Precinct     7   early morning of June 8th.
  8    and the protests outside?                                   8         And that leads to this meeting on the 12th to
  9       A. Yes, I was.                                           9   discuss really what the plan would be, moving forward,
 10       Q. Can you tell me about the nature of those            10   in an effort to avoid further conflict and confrontation
 11    meetings and who was there?                                11   with the crowds that were gathering nightly around the
 12       A. Yes. There was a meeting in the Seattle              12   East Precinct.
 13    Emergency Operations Center at around noon on June 8th.    13           THE VIDEOGRAPHER: Mr. Mahaffey, would you
 14    From the police department, Chief Best was there; I was    14   mind either leaning back or pushing your -- the audio on
 15    there; Assistant Chief Cordner, Assistant Chief            15   the camera is having trouble. Thank you.
 16    Nollette, Assistant Chief Diaz, Assistant Chief Hirjak,    16           THE WITNESS: Sure.
 17    I believe Assistant Chief Greening as well. So             17   BY MR. WEAVER:
 18    essentially the entire -- we call it the command staff,    18       Q. So at any point during the conversations on the
 19    the sworn command staff, which is the chief and her        19   8th that involved the deputy mayors and the chief of
 20    assistant chiefs.                                          20   staff Formas, do you recall there being a suggestion
 21           From the mayor's office was Deputy Mayor Fong;      21   from either the deputy mayors or Stephanie Formas that
 22    Stephanie Formas, who's chief of staff; and Deputy Mayor   22   the police should be -- the police should evacuate
 23    Sixkiller. Those are the three I remember.                 23   personnel from the East Precinct?
 24           And then I think there were representatives         24       A. No, I don't recall her saying that.
 25    from some other City agencies there. They may have been    25       Q. Do you recall that there were discussions among


                                                                                             20 (Pages 77 to 80)
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                Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 7 of 10

Hunters Capital, LLC v. City of Seattle                                                      30(b)(6) Thomas Mahaffey
                                                    Page 93                                                         Page 95
  1    I took that information back to the chief and others on     1      A. At many of them, yes.
  2    the command staff and started discussing what our next      2      Q. How about Sam Zimbabwe from the Department of
  3    plans would be.                                             3   Transportation?
  4         Q. Okay. Tell me as much as you can about those        4      A. I remember either he or a designee were --
  5    discussions that you had with the chief and other           5   would be involved in many of them.
  6    personnel about the next steps to take.                     6      Q. And I think you mentioned the fire chief was
  7         A. Well, it was collaborative effort, and              7   there?
  8    ultimately the decision was going to be left to the         8      A. Chief Scoggins, yes.
  9    chief. And my preference was to gather as much              9      Q. Okay. And then representatives from the
 10    information as we could, determine if it was viable for    10   mayor's office; correct?
 11    us to move back in immediately, and then formulate a       11      A. It seems like who I dealt with, with the
 12    plan to sustain us being back in there, knowing that       12   mayor's office, was either Deputy Mayor Sixkiller, or
 13    there would probably be pushback from crowds again that    13   Deputy Mayor Fong less so, and then Julie Kline, who was
 14    night on the precinct, so how were we going to sustain     14   the public safety advisor.
 15    it if we got back -- back into the building.               15      Q. How often were you in communication with Julie
 16           So that's kind of what was at the forefront of      16   Kline during the month of June 2020 about what was going
 17    my mind, that's what we talked about. And I think it       17   on, on Capitol Hill?
 18    was the chief -- don't remember specifically, but I        18      A. Several times a week.
 19    think it was, you know, going to be in consultation with   19      Q. What were the nature of your communications
 20    the executive branch, to start determining the next        20   with her during that time period?
 21    steps forward.                                             21           MR. CRAMER: Objection. Form. Vague as to
 22         Q. So by the "executive branch," you mean the         22   "nature."
 23    mayor's office; is that correct?                           23      A. Yeah, I don't know if I can generalize about
 24         A. Yes.                                               24   them. It was just about whatever the issue or topic was
 25         Q. Okay. Were you involved with discussions           25   that we were having to deal with.


                                                    Page 94                                                         Page 96
  1    between the Seattle Police Department and the mayor's       1   BY MR. WEAVER:
  2    office about whether the police department should try to    2        Q. During these meetings of the group that we
  3    reoccupy the East Precinct on June 9th?                     3   talked about, or with Julie Kline specifically, do you
  4        A. Not that I recall specifically on that day, no.      4   recall having discussions about whether the police
  5        Q. Do you recall having those discussions with the      5   department could or should return to the East Precinct?
  6    mayor's office at any time after June 9th, during the       6             MR. CRAMER: Objection. Form. Vague.
  7    month of June 2020?                                         7        A. Yes, I'm sure that came up.
  8        A. Yes. There was a very regular tempo of               8   BY MR. WEAVER:
  9    meetings involving the mayor's office, police, fire, a      9        Q. What was your personal opinion about whether
 10    lot of other City agencies on a daily basis, and I was     10   the police department should attempt to reoccupy the
 11    involved in many of those.                                 11   East Precinct in June of 2020?
 12        Q. Okay. So would you say you were involved every      12             MR. CRAMER: Objection. Vague as to time.
 13    day in those meetings, or was it just periodically?        13        A. I was committed to getting us back in the
 14        A. I don't know. I'm trying to be circumspect.         14   building as soon as it was practical, safe, feasible,
 15    It was certainly more than periodically. I just don't      15   and something that we could sustain without having to
 16    remember if it was every day, but it was -- I mean, I      16   get back into the tempo or the situation that we were in
 17    was working seven days a week, and there were frequently   17   earlier the month -- earlier in the month.
 18    a variety of meetings every day that certainly involved    18          That's the way I thought about it. Getting
 19    the mayor's staff and others as well.                      19   back in may have been feasible at some point, but there
 20        Q. So who do you recall being in these meetings        20   certainly would have been a force component, I think,
 21    with the mayor's staff? I mean, it sounds like, you        21   associated with that in the early days.
 22    know, fire department, Seattle Public U- -- you know --    22          And then as we saw, when we went back with
 23    give me -- I'll give you a list and you can tell me.       23   Chief Best on June 11th, the sustainment was going to be
 24           So was -- was Seattle Public Utilities at this      24   something we'd have to spend time thinking through.
 25    meeting -- at these meetings?                              25   ////


                                                                                             24 (Pages 93 to 96)
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                Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 8 of 10

Hunters Capital, LLC v. City of Seattle                                                      30(b)(6) Thomas Mahaffey
                                                    Page 97                                                          Page 99
  1    BY MR. WEAVER:                                              1       A. On the 8th, yes, that's accurate.
  2        Q. What happened on June 11th that you're               2       Q. And was there discussion, either among that
  3    referring to?                                               3   group or with your later conversation with Chief Best,
  4        A. I believe that's the correct date. Chief Best        4   about what might happen if officers were not able to
  5    and some -- myself and some other officers went back up     5   return to the East Precinct within 24 hours?
  6    to the precinct. We were able to go inside, inspect the     6       A. No. We didn't consider that contingency. The
  7    building, make sure that it hadn't been broken into,        7   thing -- the things that we thought would happen was,
  8    nothing had been damaged or taken.                          8   one, the people would march by and that would be it, and
  9           I think the thought is that we would remain          9   we'd move back in; or based on what I spoke to earlier
 10    there. We'd put some resources in the building, but        10   about what had happened in Minneapolis, the information
 11    then there was an attempt -- there was a fire lit out --   11   that we received from the FBI about government
 12    outside of the building that made the officers feel        12   facilities and the precinct being a target, that there
 13    unsafe.                                                    13   would be an effort to, you know, attack and destroy it
 14           They left, unfortunately, without notifying         14   potentially.
 15    anybody until the next morning. And so then we didn't      15           We thought the danger for fire was significant,
 16    have any more resources in there, so again, it was the     16   for lighting it on fire, and that's what we had planned
 17    sustainment piece that was going to be difficult once      17   to address, not that the occupation, for lack of a
 18    we'd lost that foothold.                                   18   better word, that occurred would happen. We didn't
 19        Q. Okay. I just want to make sure I understood --      19   consider that as a contingency plan. So we -- we
 20    understood what you said. So on June 11th, you went        20   weren't -- we hadn't thought that through.
 21    in -- and I think it was June 11th, but -- on June 11th    21       Q. Were you aware, at the time you made your
 22    or thereabouts, you went -- you went into the precinct     22   decision to evacuate the precinct on June 8th, that the
 23    with Chief Best and some other officers, with the goal     23   mayor was considering whether to give the East Precinct
 24    of leaving some people manned at the precinct; is that     24   to Black Lives Matter?
 25    correct?                                                   25             MR. CRAMER: Objection. Form.


                                                    Page 98                                                        Page 100
  1       A. That's accurate, yes.                                 1       A. I was not aware of that.
  2       Q. And those officers left sometime thereafter           2   BY MR. WEAVER:
  3    because they were concerned for their safety; is that       3       Q. When did you first become aware of that?
  4    right?                                                      4            MR. CRAMER: Same objection. Assumes
  5       A. Yeah. A different team of officers actually           5   evidence.
  6    came in late -- later in the afternoon or early evening     6       A. Sometime later on. I don't know if it was
  7    and replaced those -- myself and others that had already    7   June or July. Chief Best had told me that there had
  8    been there throughout the day.                              8   been -- she was aware of a conversation between Black
  9          And then after midnight the next day, let's say       9   Lives Matter and the mayor's office about turning over
 10    that was the 12th, that's when an incident occurred that   10   the precinct.
 11    caused them to leave the building.                         11   BY MR. WEAVER:
 12       Q. Okay. Were there other attempts to move              12       Q. Okay. What do you -- can you tell me anything
 13    personnel back into the East Precinct prior to July 1,     13   else about that conversation you had with Chief Best
 14    2020?                                                      14   about that?
 15           MR. CRAMER: Objection. Form.                        15       A. Yeah, I just remember being in her office. I
 16       A. Not -- no, not like that, that we just talked        16   don't know specifically what we were talking about. She
 17    about, or there were no other efforts that I recall that   17   told me -- Chief Best is very well connected to many
 18    were made after that initial one.                          18   communities in Seattle, especially the African-American
 19    BY MR. WEAVER:                                             19   community.
 20       Q. Okay. I want to go back to the discussions           20          And she had told me that people that she knew,
 21    that we talked about earlier on June 8th, and I think --   21   I believe -- my recollection is in the Black Lives
 22    am I correct that you were having discussions between      22   Matter movement, had told her about conversations they
 23    you and some of your subordinate officers about whether    23   had had -- I don't remember specifically with the mayor
 24    to evacuate personnel from the East Precinct? Is that      24   or her office -- about making the precinct -- turning it
 25    correct?                                                   25   over to them and allowing it to be some type of a


                                                                                           25 (Pages 97 to 100)
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                Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 9 of 10

Hunters Capital, LLC v. City of Seattle                                                      30(b)(6) Thomas Mahaffey
                                                   Page 189                                                        Page 191
  1    incidents being brought to our attention"?                  1   clear that area out first, or were they done
  2        A. I'm wondering if that's referring -- and I'm         2   simultaneously?
  3    sorry; I'm looking down through these emails, if there's    3       A. The area in front of the precinct was the first
  4    anything specific incident-wise being mentioned in here.    4   that we moved on, so that was the primary, but it was
  5           So the email from the end from Sergeant              5   fairly soon thereafter. Once we had started moving on
  6    Fiorini, who's bringing forth some calls, or a concern      6   to the precinct, we had that stabilized, under control,
  7    to us that people were -- especially at night, were         7   that we moved on to Cal Anderson.
  8    trying to lure police into the area potentially by          8       Q. And how many people did you have to clear out
  9    calling in significant incidents.                           9   from the area around the East Precinct and in Cal
 10           So I think Lieutenant -- or Sergeant Fiorini is     10   Anderson?
 11    bringing that to our attention, and just that we have an   11            MR. CRAMER: Objection. Form. Foundation.
 12    awareness of that, and then plan for that as a             12       A. Around the precinct specifically, I -- two,
 13    contingency to deal with.                                  13   three dozen is my recollection. More than that in Cal
 14        Q. What was your involvement, if anything, in the      14   Anderson, but I don't -- I don't recall what the
 15    operation on the morning of July 1, 2020, to clear the     15   specific number was.
 16    protest area of people, barricades, and tents?             16   BY MR. WEAVER:
 17        A. My involvement on that day is that I was the        17       Q. How long did the operation take for just
 18    overall incident commander for our response.               18   clearing the people out of that area?
 19        Q. Were you present on Capitol Hill for that?          19            MR. CRAMER: What area, Tyler? Both, or one
 20        A. Yes. I made a makeshift field command post at       20   of the two?
 21    the fire station that's roughly around about 13 or 14th    21            MR. WEAVER: East Precinct and Cal Anderson.
 22    and Pine Street, Fire Station 25. That's where I was       22       A. I think the main portion of that operational
 23    located.                                                   23   phase was done with- -- within two hours.
 24        Q. And how many officers were involved in the          24   BY MR. WEAVER:
 25    operation to clear the area?                               25       Q. And what was the next phase of the operation,


                                                   Page 190                                                        Page 192
  1        A. A couple hundred officers.                           1   from the police standpoint?
  2        Q. Why was it determined that you should have 200       2      A. So then it was getting back into the building,
  3    officers?                                                   3   clearing out what needed to be cleared out from around
  4        A. Well, first of all, it was the area that we had      4   the building, include the tents, which I think the other
  5    to clear was fairly large, and it was kind of a             5   agency, I think it was Parks took care of, and then
  6    two-pronged approach. We had -- by that point we had a      6   removing the barricades from around the precinct, which
  7    lot of tents that had established in front of the           7   was SDOT's job with the heavy equipment, taking down
  8    precincts, which we weren't sure of the exact amount        8   some of the -- we had put some fencing and boarding
  9    they were occupied. So that was phase one, so that was      9   around the precinct. I think we worked about taking
 10    going to require a significant amount of officers to       10   some of that down and getting back into the building.
 11    manage that.                                               11         So it was doing all those logistical things,
 12           And then the second area or issue that we had       12   and then the sustainment portion of it, because we did
 13    to address with -- was Cal Anderson, which had an          13   the actual operation, I think we were on-site by 5:00 in
 14    encampment established as well too, that had an unknown,   14   the morning.
 15    but we suspected a significant amount of people in it,     15         Most of the protest activities in early
 16    that would require a good deal of officers to deal with.   16   June would happen in the evening, so the next phase of
 17           So it was, again, just to manage those two          17   the plan was preparing for that eventuality, that now
 18    contingencies, and then just to have enough resources to   18   we'd moved back into the precinct, that there would be
 19    deal with this event and any eventualities that might      19   protest activity directed at it later that night, so we
 20    pop up. We just make sure we had enough people to deal     20   had other resources scheduled to come in later in the
 21    with things that we knew we would face and anything that   21   day to manage that.
 22    might pop up as a contingency.                             22      Q. So was there protest activity directed at the
 23        Q. So was there a particular order or -- was there     23   East Precinct later that night, on the 1st?
 24    a particular place in which the operation first started,   24      A. There may have been, but not -- I don't
 25    as far as police were concerned, in the area to -- to      25   specifically recall if there was, and what our response


                                                                                         48 (Pages 189 to 192)
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               Case 2:20-cv-00983-TSZ Document 75-43 Filed 02/07/22 Page 10 of 10

Hunters Capital, LLC v. City of Seattle                                 30(b)(6) Thomas Mahaffey
                                                  Page 197
   1     adjourned at 3:40.
   2            (Deposition concluded at 3:40 p.m.)
   3            (Reading and signing was requested
   4             pursuant to FRCP Rule 30(e).)
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                                                  Page 198
  1              CERTIFICATE
  2
  3    STATE OF WASHINGTON
  4    COUNTY OF PIERCE
  5
  6          I, Cindy M. Koch, a Certified Court Reporter in
  7    and for the State of Washington, do hereby certify that
  8    the foregoing transcript of the deposition of Thomas
  9    Mahaffey, having been duly sworn, on January 26, 2022,
 10    is true and accurate to the best of my knowledge, skill
 11    and ability.
 12          IN WITNESS WHEREOF, I have hereunto set my hand
 13    and seal this 2nd day of February, 2022.
 14
 15
 16                ____________________________
                   CINDY M. KOCH, CCR, RPR, CRR
 17
 18    My commission expires:
 19    JUNE 9, 2022
 20
 21
 22
 23
 24
 25


                                                                       50 (Pages 197 to 198)
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